       Case 8-15-72755-ast            Doc 44       Filed 04/10/18    Entered 04/10/18 14:01:33




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                               Chapter 7

        150 Fulton Property, Inc.                                   Case No. 15-72755

                                    Debtor.
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                                      CERTIFICATE OF SERVICE

        Mark Frankel, certifies that I am employed in the County of New York, State of New
York at 800 Third Ave, New York, New York. I am over the age of eighteen years of age and am
not a party to this case. On April 6, 2018, I served a copy of the ORDER SCHEDULING
HEARING ON SHORTENED NOTICE ON MOTION FOR AN ORDER AUTHORIZING
THE TRUSTEE TO TRANSFER THE DEBTOR’S RIGHTS TO THE PROPERTY AT 150-
166 FULTON STREET, FARMINGDALE, NEW YORK TO NEW BANK, and the
TRUSTEE’S APPLICATION FOR AUTHORITY TO TRANSFER THE ESTATE’S RIGHTS
TO THE PROPERTY AT 150 AND 166 FULTON STREET, FARMINGDALE, NEW YORK
TO NEW BANK upon the parties listed below at their last known email address and by FedEx
overnight delivery at their last known mailing address.

s/ Mark Frankel
Signature

Served Upon:

Fred Stevens
Klestadt Winters Jureller Southard & Stevens, LLP
200 West 41st Street, 17th Floor
New York, NY 10036
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Stan Yang
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